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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:

KAMRAN LIAQUAT KURANI,                                    CASE NO. 22-50579-PWB

         Debtor.                                          CHAPTER 7

     NOTICE OF RESCHEDULED BANKRUPTCY RULE 2004 EXAMINATION OF
                              DEBTOR

         COMES NOW Ascentium Capital LLC (“Ascentium”) and hereby provides notice of a

 rescheduled date for Ascentium’s examination of Debtor under Bankruptcy Rule 2004. On April

 4, 2022, the Court entered an Order [Doc. 19] authorizing Ascentium examine Debtor under

 Bankruptcy Rule 2004 “on April 29, 2022, at 10:00 AM, at the law offices of Baker, Donelson,

 Bearman, Caldwell & Berkowitz, P.C., 3414 Peachtree Road, NE, Suite 1500, Monarch Plaza,

 Atlanta, Georgia, or at mutually agreeable time, date, and location,” and directing Debtor to

 appear for the examination.

         Ascentium and Debtor have agreed that the Bankruptcy Rule 2004 examination of Debtor

 will now take place on Friday, June 3, 2022, at 10:00 AM, at the law offices of Baker,

 Donelson, Bearman, Caldwell & Berkowitz, P.C., 3414 Peachtree Road, NE, Suite 1500,

 Monarch Plaza, Atlanta, Georgia.


                                                   Submitted by:

                                                   /s/ Tim Colletti
                                                   Tim Colletti
                                                   Georgia Bar No. 972791
                                                   tcolletti@bakerdonelson.com
                                                   Kevin A. Stine
                                                   Georgia Bar No. 682588
                                                   kstine@bakerdonelson.com
                                                   BAKER, DONELSON, BEARMAN,
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                                             CALDWELL & BERKOWITZ, P.C.
                                             Suite 1500, Monarch Plaza
                                             3414 Peachtree Road, N.E.
                                             Atlanta, Georgia 30326
                                             Tel: (404) 477-6000
                                             Fax: (404) 221-6501

                                             Counsel for Ascentium Capital LLC




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                          UNITED STATES BANKRUPTCY COURT
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IN RE:

KAMRAN LIAQUAT KURANI,                                         CASE NO. 22-50579-PWB

         Debtor.                                               CHAPTER 7

                                  CERTIFICATE OF SERVICE

        This is to certify that I have on this day electronically filed the foregoing Notice using the
 Bankruptcy Court’s Electronic Case Filing program, which sends a notice of this document and
 an accompanying link to this document to the following parties who have appeared in this case
 under the Bankruptcy Court’s Electronic Case Filing program:

  Michael R. Rethinger                             S. Gregory Hays
  Law Offices of Michael R. Rethinger, LLC         Hays Financial Consulting, LLC
  1392 McLendon Avenue NE                          Suite 555, 2964 Peachtree Road
  Atlanta, GA 30307                                Atlanta, GA 30305
  michael@rethingerlaw.com                         ghays@haysconsulting.net
  Debtors’ Counsel                                 Chapter 7 Trustee


  Office of the U.S. Trustee                       Walter E. Jones, Esq.
  362 Richard Russell Building                     Balch & Bingham LLP
  75 Ted Turner Drive, SW                          30 Ivan Allen Jr. Blvd, NW, Ste 700
  Atlanta, GA 30303                                Atlanta, GA 30308
  Ustpregion21.at.ecf@usdoj.gov                    wjones@balch.com
                                                   Counsel for Colony Bank




         I further certify that on this day I caused a copy of this document to be served via U.S.
 First Class Mail, with adequate postage prepaid, on the following parties:

 Kamran Liaquat Kurani
 860 Peachtree Street NE, Ste 703
 Atlanta, GA 30308
                                                       /s/ Tim Colletti
                                                       Tim Colletti
                                                       Georgia Bar No. 972791
